     Case 1:22-cv-00232-MJT Document 9 Filed 10/12/22 Page 1 of 3 PageID #: 83




                                        UNITED STATES DISTRICT COURT
                                         EASTERN DISTRICT OF TEXAS
                                             BEAUMONT DIVISION

EVELYN COOPER, et vir,                                                      §
                                                                            §
          plaintiffs,                                                       §
                                                                            §
v.                                                                          §          Case 1:22-cv-232
                                                                            §
THE BANK OF NEW YORK MELLON,                                                §
as indenture trustee for Mid-State                                          §
Capital Corporation 2010-1 Trust,                                           §
                                                                            §
          defendants.                                                       §

                                              AGREED FINAL JUDGMENT

          On this day came on for consideration the unopposed motion to enter this agreed final

judgment filed by The Bank of New York Mellon, as indenture trustee for Mid-State Capital

Corporation 2010-1 Trust (BoNYM). Upon consideration of BoNYM's unopposed motion and

Evelyn Cooper and Anthony Cooper's agreement to this judgment as evidenced by the signature

of their counsel below, this court is of the opinion judgment should be entered as follows:

          IT IS ORDERED, ADJUDGED and DECREED that Evelyn Cooper and Anthony Cooper

take nothing on their claims against BoNYM and same are dismissed with prejudice.

          IT IS FURTHER ORDERED, ADJUDGED and DECREED that BoNYM is entitled to

judgment against Evelyn Cooper and Anthony Cooper, as well as all other occupants, for

immediate possession of the real property and improvements located at 220 CR 1082, Wiergate,

Texas 75977, and more particularly described as:

          BEING all that certain tract or parcel of land lying and situated in Newton County,
          Texas, out of the J. McGUIRE SURVEY, ABSTRACT NO. 708 and being all that
          certain called 54/100 acre tract (first tract described in document) and being all that
          certain called ½ acre tract (second tract), both conveyed to Evelyn Cooper in the
          document recorded in Volume 532 on Page 832 of the official public records of
          Newton County, Texas, to which reference is hereby made for all purposes and
          being more particularly described by metes and bounds as follows, to wit:

AGREED FINAL JUDGMENT                                                                                     Page 1 of 3
Case 1:22-cv-232; Evelyn Cooper, et vir v. The Bank of New York Mellon, as indenture trustee
   Case 1:22-cv-00232-MJT Document 9 Filed 10/12/22 Page 2 of 3 PageID #: 84




          BEGINNING at a 28" pine (reported to be the Southwest corner of the aforesaid
          referred 54/100 acre tract and the Southeast corner of the said ½ acre tract by third
          party in field),

          THENCE, along the reported and recognized South boundary line of the said ½
          acre tract (reported to be North of waterline and water meters by third party in
          field), West at 166.00 feet (called East 60 vrs.) a ½" iron pin found in a dirt path
          (used as a connecting route between CR 1081 and CR 1082) for the Southwest
          corner of said ½ acre tract,

          THENCE, along the reported and recognized West boundary line of the said ½ acre
          tract and along the said dirt path, N 03º 04' 24" E at 127.20 feet (distance used to
          calculate ½ acre tract) (called S 34º W 39 vrs.) a ½" iron pin set for the Northwest
          corner of the said ½ acre tract being 20.18 feet South of the approximate centerline
          of the said CR 1081,

          THENCE, along the North boundary line of the said ½ acre tract and the said 54/100
          acre tract and being 20.18 feet South of and parallel to the said CR 1081, S 88º 47'
          10" E at 333.34 feet (called West no distance for ½ acre tract and East 60 vrs. for
          54/100 acre tract) a ½" iron pin set for the Northeast corner of the said 54/100 acre
          tract,

          THENCE, along the East boundary line of the said 54/100 acre tract, S 21º 09' 08"
          E at 128.62 feet (bearing and distance used to calculate 54/100 acre) (called South
          45 vrs.) a point for the Southeast corner of the said 54/100 ace tract, from which a
          ½" iron pin found for reference bears East 9.50 feet,

          THENCE, along the reported and recognized South boundary line of the said
          54/100 acre tract, West at 220.50 feet (distance used to calculate 54/100 acre)
          (called West no distance) the POINT AND PLACE OF BEGINNING and
          containing 1.019 acre of land, more or less, of which 0.037 acre lies within CR
          1081.

          The bearings for this tract are based on the South boundary line of the said 54/100
          acre tract.

(property).

          IT IS FURTHER ORDERED, ADJUDGED and DECREED that BoNYM is entitled to all

writs or further orders necessary to enforce this judgment and the clerk is hereby ordered to issue

a writ of possession in favor of BoNYM for the property and BoNYM shall be entitled to

immediately execute the writ of possession against Evelyn Cooper and Anthony Cooper and all

other occupants without delay.


AGREED FINAL JUDGMENT                                                                          Page 2 of 3
Case 1:22-cv-232; Evelyn Cooper, et vir v. The Bank of New York Mellon, as indenture trustee
   Case 1:22-cv-00232-MJT Document 9 Filed 10/12/22 Page 3 of 3 PageID #: 85




          IT IS FURTHER ORDERED, ADJUDGED and DECREED that Evelyn Cooper and

Anthony Cooper are permanently enjoined from contesting, challenging or interfering in any way

with BoNYM's right to possession of the property, including through an appeal of this judgment.

          This judgment disposes of all claims against all parties and is, and is intended to be, a final

judgment for all purposes, including appeal.

          SIGNED on the ____ day of ______________________, 2022.



                                                                            Hon. Michael J. Truncale
                                                                            United States District Judge




AGREED AS TO FORM AND SUBSTANCE:



  /s/ Gary H. Gatlin
Gary H. Gatlin
Attorney for Evelyn Cooper and Anthony Cooper



   /s/ Michael J. McKleroy, Jr.
Michael J. McKleroy, Jr.
Attorney for BoNYM




AGREED FINAL JUDGMENT                                                                                      Page 3 of 3
Case 1:22-cv-232; Evelyn Cooper, et vir v. The Bank of New York Mellon, as indenture trustee
